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     RADLEY J. BRADFORD
10

11                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF CALIFORNIA
12

13    RADLEY J. BRADFORD,                               Case No.     '22CV259 JO JLB
      individually and on behalf of all others
14    similarly situated,                               CLASS ACTION COMPLAINT FOR
                                                        VIOLATION OF THE FAIR CREDIT
15                 Plaintiff,                           REPORTING ACT
16       v.                                             DEMAND FOR JURY TRIAL
17    MONEVO, INC.,
18                 Defendant.
19

20                                           INTRODUCTION
21            1.    This is an action for damages and other relief brought by Radley J. Bradford

22   (“Bradford”), individually and on behalf of all others similarly situated, pursuant to the Fair Credit
     Reporting Act (“FCRA”), 15 U.S.C. §§ 1681 et seq.
23
              2.    The FCRA restricts access to consumer reports except for specific, statutorily
24
     enumerated purposes under 15 U.S.C § 1681.
25
              3.    Defendant, Monevo, Inc. (“Monevo”), without notice or permission invaded the
26   privacy of Plaintiff and class members when it accessed their credit reports without permissible
27   purposes.

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                                        JURISDICTION AND VENUE
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            4.      Jurisdiction of this court arises under 15 U.S.C. § 1681p and 28 U.S.C. § 1337.
 2
            5.      Venue lies properly in this district pursuant to 28 U.S.C. § 1391(b)(1) and (2).
 3                                                PARTIES
 4          6.      Plaintiff Bradford is an adult individual residing in Houston, Texas.
 5          7.      Defendant Monevo is a Delaware corporation that is located and regularly conducts

 6   business in the state of California, and which has its headquarters and a principal place of business
     located at 8910 University Center Lane, Suite 400, San Diego, California, 92122.
 7
                                        FACTUAL ALLEGATIONS
 8
            8.      On November 2, 2021, Bradford obtained a copy of his Transunion credit report.
 9          9.      Upon review of his credit report, Bradford noticed that on March 1, 2020, Monevo
10   had obtained a copy of his credit report, misrepresenting it had a “Permissible Purpose/Written
11   Authorization” to pull, receive and review his credit report.

12          10.     Bradford did not have an existing business relationship with Monevo, never applied
     for a loan through Monevo, and did not authorize Monevo to run his credit report at any time.
13
            11.     Prior to obtaining his credit report, Bradford had never heard of Monevo.
14
            12.     Bradford immediately contacted Monevo on or about November 12, 2021, and they
15
     responded indicating his information had been submitted through their platform on March 1, 2020
16          13.     Monevo was never able to provide a copy of an application or an authorization to
17   obtain Bradford’s credit report.

18          14.     The credit report obtained by Monevo would have included a trove of sensitive
     personal and private information about Plaintiff, such as his birth date, credit history profile, pay
19
     histories, employer information and the like.
20
            15.     Pursuant to 15 U.S.C. § 1681b, a consumer report can be obtained only for the
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     specific purposes stated thereunder, including for use in connection with a credit transaction that
22   the consumer initiated, a firm credit offer, employment purposes, or a business transaction in which
23   an individual has accepted personal liability for business credit.
24          16.     Monevo never had a permissible purpose to obtain Bradford’s consumer report.
            17.     Monevo obtained Bradford’s credit report under false pretenses to the credit bureau
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     because he never provided permission to Monevo.
26
            18.     Monevo had actual knowledge that Bradford did not authorize any inquiry into his
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     credit information at any time.
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            19.    As a result of Monevo’s willful, wanton, reckless, and/or negligent action, Bradford
 1
     has been damaged.
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            20.    Upon information and belief, Monevo as a pattern and practice regularly obtains
 3   consumer reports on consumers without a permissible purpose.
 4          21.    Bradford’s privacy has been invaded because of the willful, wanton, reckless, and/or
 5   negligent conduct of Monevo.

 6          22.    Bradford has suffered mental and emotional distress, worry, and aggravation
     because of Monevo’s actions.
 7
            23.    Bradford’s credit profile and history was adversely affected because of Monevo’s
 8
     actions.
 9                                      CLASS ALLEGATIONS
10          24.    Monevo’s conduct is consistent with its practice of obtaining consumer reports on
11   consumers without a permissible purpose.

12          25.    Plaintiff is seeking to certify a class pursuant to Fed. R. Civ. Proc. 23(a) and
     24(b)(3).
13
            26.    Class Definition: The Class consists of: All persons in Texas whose consumer
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     reports were obtained by Defendant without a permissible purpose between February 25, 2020, and
15
     February 25, 2022.
16          27.    The identities of the Class members are readily ascertainable from the business
17   records of Monevo.

18          28.    Class Claims. The Class claims include all claims each Class member may have
     for a violation of the FCRA arising from Monevo obtaining the consumer report of a Class Member
19
     without a permissible purpose.
20
            29.    This action has been brought, and may properly be maintained, as a class action
21
     pursuant to the provisions of Rule 23 of the Federal Rules of Civil Procedure because there is a
22   well-defined community in the litigation:
23                 a. Numerosity. On information and belief, the Class are so numerous that joinder
24                     of all members would be impractical and includes at least 40 members.
                   b. Common Questions Predominate. Common questions of law and fact exist as
25
                       to all members of the Class and those questions predominate over any questions
26
                       or issues involving only individual class members because such questions and
27
                       issues concern the same conduct by Monevo with respect to each Class member.
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                      c. Typicality. Plaintiff’s claims are typical of the Class members because those
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                         claims arise from a common course of conduct engaged in by Monevo.
 2
                      d. Adequacy. Plaintiff will fairly and adequately protect the interests of the Class
 3                       members insofar as she has no interests that are adverse to those of the Class
 4                       members. Moreover, Plaintiff is committed to vigorously litigating this matter
 5                       and retained counsel experienced in handling consumer lawsuits, complex legal

 6                       issues, and class actions. Neither Plaintiff nor his counsel have any interests
                         which might cause them not to vigorously pursue the instant class action.
 7
            30.       Certification of a class under Rule 23(b)(3) of the Federal Rules of Civil Procedure
 8
     is appropriate in that the questions of law and fact common to the Class members predominate over
 9   any questions affecting individual members, and a class action is superior to other available
10   methods for the fair and efficient adjudication of the controversy.
11          31.       Based on discovery and further investigation (including, but not limited to,

12   disclosure by Monevo of class size and net worth), Plaintiff may, in addition to moving for class
     certification using modified Class claims, Class definitions, or Class periods, seek class
13
     certification only as to particular issues as permitted under Fed. R. Civ. P. 23(c)(4).
14

15
                                              COUNT ONE
16                                       VIOLATIONS OF THE FCRA

17          32.       Plaintiff incorporates the foregoing paragraphs as though the same were set forth at

18   length herein.
            33.       At all times pertinent hereto, Defendant Monevo is a “person” and a “consumer
19
     reporting agency” as those terms are defined by 15 U.S.C. § 1681a(b) and (f).
20
            34.       At all times pertinent hereto, Plaintiff was a “consumer” as that term is defined by
21
     15 U.S.C. § 1681a(c).
22          35.       At all times pertinent hereto, the above-mentioned credit reports were “consumer
23   reports” as that term is defined by 15 U.S.C. § 1681a(d).
24          36.       Defendant has violated the Fair Credit Reporting Act by willfully and/or negligently
     obtaining Plaintiff’s consumer credit report without a statutorily permissible purpose. 15 U.S.C. §
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     1681b; §1681n; and §1681o.
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                                          PRAYER FOR RELIEF
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            WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages against the
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     Defendant, based on the following requested relief:
 3                 (a)     An Order certifying this action as a class action pursuant to Rule 23(c)(1)(A)
 4                         of the Federal Rules of Civil Procedure including, but not limited to, defining
 5                         the Class and the Class claims, issues, or defenses, and appointing the

 6                         undersigned counsel as class counsel pursuant to Rule 23(g);
                   (b)     Actual and compensatory damages to Plaintiff and the Class;
 7
                   (c)     Punitive damages;
 8
                   (d)     A declaration that the conduct complained of violates the provisions of the
 9                         FCRA, 15 U.S.C. § 1681b;
10                 (e)     An Order requiring return of the confidential consumer reports of Plaintiff
11                         and Class Members and destruction of any copies;

12                 (f)     Costs and reasonable attorney's fees; and
                   (g)     Such other and further relief as may be necessary, just and proper.
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                                         JURY TRIAL DEMAND
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            Plaintiff demands trial by jury on all issues so triable.
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17
      Dated: February 25, 2022                           Respectfully submitted,
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                                                         /s/ Amy L. B. Ginsburg
20                                                       AMY L. B. GINSBURG

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                                           CLASS ACTION COMPLAINT
